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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al,

Plaintiffs,
Case No. 1:25-cv-00596-ELH
v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

Defendants.

)
[PROPOSED] ORDER C77
Having considered Defendants’ Motion to Protect Employee Identities during PI Hearing,

and for good cause shown, Defendants’ motion is GRANTED.

Dated: aly4[as [ben £ doucsr-—

Hon. Ellen Lipton Hollander
United States District Judge

